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1     TRACY L. WILKISON
      Acting United States Attorney
2     SCOTT M. GARRINGER
      Assistant United States Attorney
3     Chief, Criminal Division
      KRISTEN A. WILLIAMS (Cal. Bar No. 263594)
4     Deputy Chief, Major Frauds Section
      ALI MOGHADDAS (Cal. Bar No. 305654)
5     DAVID H. CHAO (Cal. Bar No. 273953)
      DAVID C. LACHMAN (Cal. Bar No. 261711)
6     Assistant United States Attorneys
      Major Frauds/General Crimes Sections
7          1100 United States Courthouse
           312 North Spring Street
8          Los Angeles, California 90012
           Telephone: (213) 894-2400
9          Facsimile: (213) 894-6269
           E-mail:     Kristen.Williams@usdoj.gov
10                     Alex.Wyman@usdoj.gov
                       Ali.Moghaddas@usdoj.gov
11                     David.Chao@usdoj.gov
                       David.Lachman@usdoj.gov
12
      Attorneys for Plaintiff
13    UNITED STATES OF AMERICA
14                             UNITED STATES DISTRICT COURT
15                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
16    UNITED STATES OF AMERICA,                No. CR 17-661(A)-DMG

17               Plaintiff,                    GOVERNMENT’S SUPPLEMENTAL TRIAL
                                               MEMORANDUM REGARDING ADMISSION OF
18                     v.                      FALSE PATIENT FILE MATERIALS

19    JULIAN OMIDI,                            Trial Date:      September 21, 2021
        aka “Combiz Omidi,”                    Time:            9:00AM
20      aka “Combiz Julian Omidi,”             Location:        Courtroom of the
        aka “Kambiz Omidi,”                                     Hon. Dolly M. Gee
21      aka “Kambiz Beniamia Omidi,”
        aka “Ben Omidi,”
22    SURGERY CENTER MANAGEMENT, LLC,
      and
23    MIRALI ZARRABI, M.D.,
        aka “Mirali Akba Ghandchi
24           Zarrabi,”
        aka “M.A. Ghandchi Zarrabi,”
25
                 Defendants.
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1           Plaintiff United States of America, by and through its counsel

2     of record, the Acting United States Attorney for the Central District

3     of California and Assistant United States Attorneys Kristen A.

4     Williams, Ali Moghaddas, David H. Chao, and David C. Lachman, hereby

5     files a supplemental trial memorandum regarding the admission of

6     false patient file documents.

7           The government respectfully requests leave to file additional

8     memoranda as may become appropriate during the course of trial.

9      Dated: October 11, 2021              Respectfully submitted,
10                                          TRACY L. WILKISON
                                            Acting United States Attorney
11
                                            SCOTT M. GARRINGER
12                                          Assistant United States Attorney
                                            Chief, Criminal Division
13

14                                                /s/
                                            KRISTEN A. WILLIAMS
15                                          ALI MOGHADDAS
                                            DAVID H. CHAO
16                                          DAVID C. LACHMAN
                                            Assistant United States Attorneys
17

18                                          Attorneys for Plaintiff
                                            UNITED STATES OF AMERICA
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1                         MEMORANDUM OF POINTS AND AUTHORITIES

2     I.    INTRODUCTION

3           Before the testimony of patient Toya Simpson on October 6, 2021,

4     defendant JULIAN OMIDI (“OMIDI”) objected to the admission of a

5     letter of medical necessity (“LOMN”) on behalf of Ms. Simpson on the

6     ground that it was not apparent whether the letter was sent to an

7     insurance company.     (RT 10/6/2021 at 1992.)       The government explained

8     that regardless of whether the letter was sent to the insurance

9     company, the fact that the LOMN was generated at all and the
10    falsehoods contained therein constitute evidence relevant to prove
11    the charged scheme.      (RT 10/6/2021 at 1994-95.)      The Court sustained
12    the objection, but invited the government to provide additional
13    briefing supporting the admissibility of such evidence.           As explained
14    below, the government submits that fraudulent patient file materials,
15    including LOMNs found in the patient records produced by and obtained
16    from GET THIN, are relevant and admissible whether or not they were
17    sent to an insurance company because their creation is inextricably
18    intertwined with the charged scheme and they constitute evidence of

19    defendants’ knowledge and intent, highly disputed elements the

20    government must prove in any fraud trial, including this one.

21    Alternatively, these materials are admissible under Federal Rule of

22    Evidence 404(b) as evidence of defendants’ knowledge, intent,

23    opportunity, and absence of mistake.

24    II.   RELEVANT FACTUAL BACKGROUND

25          As one facet of the alleged scheme, the First Superseding

26    Indictment (“FSI”) alleges that GET THIN employees acting at

27    defendant OMIDI’s direction or with his knowledge and approval,

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1     falsified information that was included in the LOMNs in an effort to

2     make the patients more likely to receive insurance pre-approval for

3     Lap-Band surgery.        (FSI ¶ 38(k).)   Defendant OMIDI at times directed

4     GET THIN employees, whom he knew were not medical professionals, to

5     revise the LOMNs, including to reflect falsified sleep study results

6     and Epworth Sleepiness scores.        (Id. ¶ 38(l).)    These LOMNs were

7     created from templates with cloned language not specific to patients’

8     conditions.      (Id.)    To the extent the LOMNs were reviewed by

9     physicians (which was not always the case), those physicians had
10    often never seen or examined the patients and were asked to review
11    the LOMNs based only on select (and often fraudulent) supporting
12    documentation provided to them by other GET THIN employees or without
13    receiving any supporting documentation at all.          (Id.)
14    III. THE COURT SHOULD ADMIT EVIDENCE OF FALSE PATIENT FILE MATERIALS,
           INCLUDING LETTERS OF MEDICAL NECESSITY
15
                  1.     Legal Standard
16
            Under well-established Ninth Circuit authority, “[t]wo general
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      categories of other act evidence may be ‘inextricably intertwined’
18
      with a charged crime and thus exempted from the requirements of
19
      [Federal Rule of Evidence] 404(b).”           United States v. Dorsey, 677
20
      F.3d 944, 951 (9th Cir. 2012), cert. denied, 133 S. Ct. 2850 (2013).
21
      “First, other act evidence may ‘constitute[ ] a part of the
22
      transaction that serves as the basis for the criminal charge.’”             Id.
23
      (quoting United States v. Vizcarra-Martinez, 66 F.3d 1006, 1012 (9th
24
      Cir. 1995) (alteration in original)).          “Second, admission of other
25
      act evidence may be ‘necessary . . . to permit the prosecutor to
26
      offer a coherent and comprehensible story regarding the commission of
27
      the crime.’”      Id. (quoting Vizcarra-Martinez, 66 F.3d at 1012-13
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1     (alteration in original)); see also United States v. Daly, 974 F.2d

2     1215, 1217 (9th Cir. 1992) (noting that “evidence concerning other

3     acts that are inextricably intertwined with the charged acts may be

4     admitted” to “put [defendant’s] illegal conduct into context and to

5     rebut his [defense]”).

6           Evidence that is deemed to be “inextricably intertwined” with

7     the charged conduct is admissible without regard to the requirements

8     of Federal Rule of Evidence 404(b).         See United States v. DeGeorge,

9     380 F.3d 1203, 1220 (9th Cir. 2004); United States v. Soliman, 813
10    F.2d 277, 279 (9th Cir. 1987) (“Evidence should not be treated as

11    ‘other crimes’ evidence when ‘the evidence concerning the [‘other’]

12    act and the evidence concerning the crime charged are inextricably

13    intertwined.’” (alteration in original)).         “In illustrating a broad

14    scheme to the jury, the Government is permitted to present “the

15    circumstances and background of the criminal charge.”           United States

16    v. Babichenko, --- F. Supp. 3d ---, 2021 WL 2419523, at *7 (D. Idaho

17    June 14, 2021).

18                2.    The Evidence of False Patient File Materials is
                        Inextricably Intertwined with the Charged Scheme
19
            OMIDI’s involvement (and by extension SURGERY CENTER MANAGEMENT,
20
      LLC’s (“SCM”)) in the creation and revision of LOMNs is a part of the
21
      charged scheme and evidences the foreseeability to them of the
22
      actions of co-schemers.      The jury has already seen and heard evidence
23
      regarding OMIDI’s involvement in that revision process (see, e.g., RT
24
      9/23/2021 at 506-507; Gov’t Tr. Ex. 480A), and is anticipated to hear
25
      more such evidence.      For example, Armando Petrikowski testified that
26
      the processing department “works very closely with Julian Omidi” and
27
      described their role as follows:
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1                 Their job is to go to Nextech, our internal
                  server, and find the scanned documentation from
2                 the remote office – right? – and from there,
                  prepare a chart. And using a template of a
3                 letter of medical necessity, which is basically
                  the main – or one of the most important documents
4                 that go at the front of the chart that is going
                  to be sent to the insurance company, and just
5                 basically grab all that data to present it to
                  Julian’s review, Julian Omidi’s review.
6

7     (RT 9/23/2021 at 506-507.)       Petrikowski further testified that he saw

8     defendant OMIDI reviewing those charts “almost every day when he was

9     there.”    (Id. at 507.)    Moreover, the instances in which the
10    government has already introduced such evidence, intended to

11    introduce it for patient Toya Simpson, and intends to introduce it

12    where appropriate for patients going forward, are instances not

13    merely of drafts, but drafts containing false information.            (See RT

14    9/22/2021 at 283, Ex. 71 (Caraquita Steward); RT 9/29/2021 at 1253-

15    54, Ex. 108 (Veronica Coronado).) 1       Thus, even where these LOMNs did

16    not go (or cannot be definitively shown to have gone) to insurance,

17    they are relevant to the existence of the scheme to defraud the

18    insurance companies and the participation of defendants OMIDI and SCM

19    in it.    See Soliman, 813 F.2d at 279 (“To prove the mail fraud

20    counts, the Government had to show the existence of a scheme of mail

21    fraud activity and Soliman’s connection to that scheme.”)            In proving

22    the existence of the scheme, for example, the government is not

23
            1While the government has at times objected to defendants’
24    questioning of insurance agents regarding patient files when they
      have sought to do so with the implication that these documents
25    evidence a physician’s determination of the existence of certain
      medical conditions (see, e.g., RT 9/30/2021 (Munson) at 1363-64; RT
26    10/5/2021 (Richer) at 1828) -- something the government also
      anticipates the jury will hear was not always true -- that is quite
27    different from seeking to admit a patient’s files that were
      indisputably drafted with the goal of being presented to insurance
28    and that contain affirmative misrepresentations.
                                         6
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1     constrained to evidence regarding the specific executions it has

2     charged.    See United States v. Serang, 156 F.3d 910, 915 (9th Cir.

3     1998) (government not precluded from introducing evidence relevant to

4     entire conspiracy or scheme simply because defendant is indicted for

5     less than all of their actions).        For these reasons, evidence of such

6     LOMNs is inextricably intertwined with the charged scheme.

7           Additionally, in order to prove the mail and wire fraud charges

8     contained in counts one through 31 the FSI, the government must

9     establish, among other things, that the defendants acted with the
10    intent to defraud -- that is, the intent to deceive and cheat.             Ninth
11    Cir. Model Crim. Jury Instr. 8.121.         In order to prove the false
12    statements charges contained in counts 33 and 34 of the FSI, the
13    government must prove that defendants OMIDI and MIRALI ZARRABI, MD
14    (“ZARRABI”) acted with knowledge that the statement or representation
15    was untrue and acted willfully.        An act is done “knowingly” if the
16    defendant is aware of the act and does not act through ignorance,
17    mistake, or accident, and the jury may consider evidence of the
18    defendant’s words, acts, or omissions, along with all the other

19    evidence, in deciding whether the defendant acted knowingly.            Ninth

20    Cir. Model Crim. Jury Instr. 5.7.

21          Evidence related to knowledge and intent is not limited to

22    evidence communicated to others or finalized.          In fact, a defendant’s

23    intent is often proven through internal documents (such as internal

24    memoranda, emails, and drafts), or other circumstantial evidence.

25    See United States v. Sullivan, 522 F.3d 967, 974 (9th Cir. 2008)

26    (“[I]ntent to defraud may be established by circumstantial

27    evidence”).    Cf. United States v. Curtin, 489 F.3d 935, 948 (9th Cir.

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1     2007) (defendant’s personal possession of stories involving sexual

2     contact with minors “illuminated [defendant’s] thoughts and his

3     subjective intent”).      Furthermore, “the scheme itself may be

4     probative circumstantial evidence of an intent to defraud.”

5     Sullivan, 522 F.3d at 974 (citing United States v. Plache, 913 F.2d

6     1375, 1381 (9th Cir. 1990) (“[T]his intention is shown by examining

7     the scheme itself.”)).

8           Here, the fact that the LOMN drafting process at GET THIN

9     involved the creation of drafts that were not merely incomplete, but
10    which contained affirmatively false statements, particularly when
11    combined with other evidence regarding OMIDI’s involvement in that
12    patient file review and LOMN revision process, is circumstantial
13    evidence of defendants’ knowledge and intent that such statements
14    would be ultimately conveyed to insurance companies, or, at a
15    minimum, that defendants acted with reckless disregard as to whether
16    they would be.
17          While the above indicates the connection between the evidence

18    offered and the crimes charged, the evidence is also “necessary . . .

19    to permit the [government] to offer a coherent and comprehensible

20    story regarding the commission of the crime.”          Dorsey, 677 F.3d at

21    951; see also United States v. King, 200 F.3d 1207, 1215 (9th Cir.

22    1999) (admitting testimony regarding the general nature of

23    defendant’s business activity as inextricably intertwined); United

24    States v. Ramirez-Jiminez, 967 F.2d 1321, 1327 (9th Cir. 1992)

25    (evidence “used to flesh out the circumstances surrounding the crime

26    with which the defendant has been charged” allows the jury to “make

27    sense of the testimony in its proper context”).

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1           Finally, while evidence of the drafting process of LOMNs

2     (including OMIDI’s involvement in their revision) is a part of the

3     charged scheme, it would also be admissible under Federal Rule of

4     Evidence 404(b) as evidence that demonstrates defendants’ intent,

5     knowledge, opportunity, and absence of mistake with respect to the

6     false LOMNs that were sent to the insurance companies.           These LOMNs

7     go to a material and highly disputed point (defendants’ knowledge and

8     intent), appear reasonably close in time, are proven with evidence

9     sufficient to show the act was committed (because these documents are
10    found in the patient files produced by and obtained from GET THIN),
11    and are similar to the offense charged.          United States v. Beckman,
12    298 F.3d 788, 794 (9th Cir. 2002).          As is apparent from those LOMNs

13    introduced thus far, this evidence will not cause undue delay or

14    unfairly prejudice the defendants.          Curtin, 489 F.3d at 944.

15    IV.   CONCLUSION

16          For the foregoing reasons, the government respectfully requests

17    that the Court admit false patient file materials, including LOMNs,

18    even where it cannot be demonstrated that they were sent to insurance

19    companies.

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